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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                  MIDLAND/ODESSA DIVISION

UNITED FIRE & CASUALTY COMPANY,                        §
           Plaintiff,                                  §
                                                       §
v.                                                     §      No. MO:17-CV-00023-RAJ
                                                       §
KENT DISTRIBUTORS, INCORPORATED,                       §
           Defendant.                                  §

                                           FINAL JUDGMENT

        On this day, the Court granted and Counter-Defendant United Fire & Casualty Company’s

(“United Fire”) Motion for Summary Judgment Against Defendant and Counter-Claimant Kent

Distributors, Incorporated (“Kent”). (Doc. 9). The Court now enters its Final Judgment pursuant to

Federal Rule of Civil Procedure 58.

        It is therefore ORDERED that United Fire & Casualty Company’s Motion for Summary

Judgment is hereby GRANTED. (Doc. 9). The Court DECLARES that United Fire & Casualty

Company does not have a duty to defend Kent Distributors Incorporated against Shlana Mitchell’s claims

in Cause No. CV52563 in the 238th Judicial District Court of Midland County, Texas, and United Fire &

Casualty Company does not have a duty to indemnify Kent Distributors Incorporated for any damages,

interest, or costs assessed in favor of Shlana Mitchell.

        It is further ORDERED that Kent Distributors Incorporated’s counterclaims for breach of policy

and declaratory judgment against United Fire & Casualty Company are DISMISSED WITH

PREJUDICE.

        It is further ORDERED that all pending motions are DENIED as moot.

        It is finally ORDERED that the Clerk of the Court CLOSE this case.

        It is so ORDERED.

        SIGNED this 17th day of January, 2018.

                                               ROBERT JUNELL
                                               SENIOR U.S. DISTRICT JUDGE
